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United States Attorney | man as
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JAMES AR. LARSEN, CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, CR-09-0089-RHW

Plaintiff, INDICTMENT

Vs. Vio: 18 U.S.C. § 2422(b),
Coercion of a Minor
TIMOTHY A. SHELLY, (Count 1)

Defendant. 18 U.S.C. § aaney
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(Count 2)

18 U.S.C. § 2423(b),
Travel with Intent to Have
Sex with a Minor

(Count 3)

18 U.S.C. §§ 2428 and
2253, Forfeiture of
Computer Equipment
(Count 4)

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The Grand Jury Charges:
COUNT |

On or about January 2005 and continuing through on or about September 4,
2005, in Republic, within the Eastern District of Washington, and elsewhere
TIMOTHY A. SHELLY, Defendant herein, did use any facility of interstate
commerce, to knowingly persuade, induce, entice and coerce an individual who
had not attained the age of 18 years, to engage in any sexual activity for which any
person could be charged with a criminal offense, all in violation of 18 U.S.C. §

2422(b).

INDICTMENT - 1

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COUNT 2
On or about January 2005 and continuing through on or about April 21,
2005, in Republic, within the Eastern District of Washington, and elsewhere,
TIMOTHY A. SHELLY, Defendant herein, did knowingly employ, use, persuade
induce, entice and coerce a minor to engage in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, which visual depiction was intended to be transported

?

| in interstate commerce and was produced using materials that had been mailed,
shipped, and transported in interstate commerce, all in violation of 18 U.S.C. §
225 1(a).
COUNT 3
Between on or about September 1, 2005, and on or about September 4,
2005, TIMOTHY A. SHELLY, Defendant herein, did knowingly travel in
interstate commerce, that is, from the State of Michigan to Republic, Washington,
in the Eastern District of Washington, for the purpose of engaging in illicit sexual
conduct, (as defined in 18 U.S.C. § 2423(f)(1)), with a person under eighteen years
of age, all in violation of 18 U.S. C. § 2423(b).
COUNT 4
Upon conviction of the offense alleged in Count lof this Indictment,
Defendant, TIMOTHY A. SHELLY, shall forfeit to the United States, pursuant to
18 U.S.C. § 2428, any property, real or personal, used or intended to be used to
commit or facilitate the commission of such offenses, including but not limited to:
a Computer Hard Drive, serial number WMA9P 1666869.
Upon conviction of the offense alleged in Count 2 of this Indictment,
Defendant, TIMOTHY A. SHELLY, shall forfeit to the United States, pursuant to
18 U.S.C. § 2253, any visual depiction described in section 2251, 2251A, 2252A,

or 2260 of this chapter, or any book, magazine, periodical, film, videotape, or

other matter which contains any such visual depiction, which was produced,

INDICTMENT - 2

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transported, mailed, shipped or received in violation of this chapter; and, any
property, real or personal, used or intended to be used to commit or to promote the
commission of such offenses, including but not limited to: a Computer Hard
Drive, serial number WMA9P 1666869.

If any of the above-described forfeitable property, as a result of any act or
omission of the Defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853, as incorporated by
28 U.S.C. § 2461(c) and 18 U.S.C. § 2253(b), to seek forfeiture of any other
property of said Defendant up to the value of the forfeitable property described
above.

DATED this 2.9 day of June, 2009.

¢ A TRUE BILL

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James
Unit

fates Attorney
Avro
Stephanie J. Lister
Assistant United States Attorney

INDICTMENT - 3

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